 Case 5:20-cv-01126-SB-SHK Document 230 Filed 02/16/22 Page 1 of 39 Page ID #:4625




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                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11                              EASTERN DIVISION

12   DANIELLE GAMINO,                        )   Case No.: 5:21-cv-01466-SB-SHK
13   individually and on behalf of all       )
     others similarly situated,              )   Case No.: 5:20-cv-01126-SB-SHK)
14                                           )   (consolidated case number)
15          Plaintiff,                       )
                                             )
16   v.                                      )   PLAINTIFF’S NOTICE OF
17                                           )   MOTION AND MOTION FOR
     SPCP GROUP, LLC,                        )   CLASS CERTIFICATION OF THE
18                                           )   CLAIM AGAINST SPCP GROUP
19          Defendant,                       )   LLC
                                             )
20   and                                     )   Hearing: April 8, 2022 8:30 a.m.,
21                                           )   Courtroom 6C
     KPC HEALTHCARE, INC.                    )
22   EMPLOYEE STOCK                          )
23   OWNERSHIP PLAN,                         )
                                             )
24          Nominal Defendant                )
25                                           )
                                             )
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27
28
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 1         Notice is hereby given that, on April 8, 2021, at 8:30 a.m. or as soon
 2 thereafter as counsel may be heard before Hon. Stanley Blumenfeld, Jr. in
 3 Courtroom 6C of the United States Courthouse, 350 W 1st St., Los Angeles,
 4 California, Plaintiffs will and hereby do move the Court to certify the following
 5 class under Rule 23(a) and Rule 23(b)(1), (b)(2) and/or (b)(3) of the Federal Rules
 6 of Civil Procedure as to Counts I of Plaintiff’s Amended Complaint against SPCP
 7 Group LLC:
 8         All participants in the KPC Healthcare, Inc. Employee Stock
 9         Ownership Plan from August 28, 2015 or any time thereafter (unless
10         they terminated employment without vesting in the ESOP) and those
11         participants’ beneficiaries.
12         Excluded from the Class are (a) Defendants in Gamino v. KPC
13         Healthcare Holdings, Inc., (b) any fiduciary of the Plan; (c) the officers
14         and directors of KPC Healthcare Holdings, Inc. or of any entity in
15         which one of the individual Defendants has a controlling interest; (d)
16         the immediate family members of any of the foregoing excluded
17         persons, and (e) the legal representatives, successors, and assigns of any
18         such excluded persons.
19         This motion is based on this Notice of Motion and Motion, the
20 Memorandum of Points and Authorities and exhibits filed herewith, the Amended
21 Complaint, all the pleadings, files, and records in this proceeding, all other matters
22 of which the Court may take judicial notice, and any argument or evidence that
23 may be presented to or considered by the Court prior to its ruling.
24         This motion is made following conferences of counsel pursuant to L.R. 7-3,
25 which took place on December 23, 2021 at the Rule 26(f) conference with then-
26 counsel for SPCP and at conference with counsel for all the parties, including
27 SPCP’s then-counsel on February 8, 2022 All Defendants in this consolidated case
28
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 1 have stated that they are as yet unable to take a position with respect to the relief
 2 sought by Plaintiff on this motion. After SPCP retained new counsel, Plaintiff’s
 3 counsel also held a conference on February 15, 2022 with SPCP’s new counsel
 4 about SPCP’s position with respect to this motion. At that conference, SPCP’s new
 5 counsel also reiterated that SPCP still was unable to take a position on this motion.
 6
 7 DATED: February 16, 2022                 Respectfully submitted,
 8
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 7 Attorneys for Plaintiff
   (additional counsel listed below)
 8
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                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11                              EASTERN DIVISION

12   DANIELLE GAMINO,                      )   Case No.: 5:21-cv-01466-SB-SHK
13   individually and on behalf of all     )
     others similarly situated,            )   Case No.: 5:20-cv-01126-SB-SHK
14                                         )   (consolidated case number)
15          Plaintiff,                     )
                                           )
16   v.                                    )   PLAINTIFF’S MEMORANDUM OF
17                                         )   POINTS AND AUTHORITIES IN
     SPCP GROUP, LLC,                      )   SUPPORT OF MOTION FOR
18                                         )   CLASS CERTIFICATION
19          Defendant,                     )
                                           )   Hearing set for April 8, 2022
20   and                                   )   8:30 a.m., Courtroom 6C
21                                         )
     KPC HEALTHCARE, INC.                  )
22   EMPLOYEE STOCK                        )
23   OWNERSHIP PLAN,                       )
                                           )
24          Nominal Defendant              )
25                                         )
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 1 I.      INTRODUCTION
 2         This consolidated case challenges an August 28, 2015 integrated transaction
 3 (“the 2015 Transaction) in which the KPC Healthcare, Inc. Employee Stock
 4 Ownership Plan (the “ESOP” or “Plan”) purchased 100% of KPC Healthcare
 5 Holdings, Inc (“KPC”). In Gamino v. KPC Healthcare Holdings, Inc. (the “KPC
 6 Action”), this Court previously certified the claims against the defendants other
 7 than SPCP Group LLC on behalf of the following Class:
 8         All participants in the KPC ESOP from August 28, 2015 or any time
 9         thereafter (unless they terminated employment without vesting in the
10         ESOP) and those participants’ beneficiaries.1
11 KPC ECF No. 174 at 6 (“KPC Class Order”). After the filing of the KPC Action,
12 Plaintiff’s counsel learned that SPCP had participated in the Transaction and
13 received tens of millions of dollars in cash, promissory notes, stock warrants, and
14 rights to share in certain payments received by the ESOP’s sponsor, KPC. Plaintiff
15 now seeks to certify the claim against SPCP on behalf of the same Class.
16         The Amended Complaint against SPCP alleges a claim under the Employee
17 Retirement Income Security Act (“ERISA”), for SPCP’s knowing participation in
18 the fiduciary breaches and prohibited transactions in the 2015 ESOP Transaction.
19 Like the claims in the KPC Action, the claim against SPCP is well-suited for class
20 certification because the underlying facts and the legal claims arising from those
21 facts are the same for all members of the Class. All Class members are either
22 ESOP participants or their beneficiaries and have the same rights to appropriate
23
24   1
     Excluded from the Class are (a) Defendants in the KPC Healthcare action, (b)
25 any fiduciary of the Plan; (c) the officers and directors of KPC or of any entity in
   which one of the individual Defendants has a controlling interest; (d) the
26
   immediate family members of any of the foregoing excluded persons, and (e) the
27 legal representatives, successors, and assigns of any such excluded persons.
28
     Plaintiff’s Memorandum in Support of Motion for Class Certification – Page 13
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 1 equitable relief against SPCP arising from its knowing participation in the
 2 fiduciary breaches and prohibited transactions committed by the KPC defendants.
 3         As in the KPC Action, the prerequisites of Rule 23(a) are met. The class
 4 numbers in the thousands, the questions of fact and law surrounding SPCP’s
 5 conduct are the same for all class members, Plaintiff’s claim is typical of those of
 6 the Class, and Plaintiff and her counsel will adequately represent the Class. As
 7 with many cases involving ESOP transactions, this claim is ideally suited for class
 8 certification under Rule 23(b). Because adjudication of these issues for one
 9 participant would effectively resolve the issues for all class members, and separate
10 actions by individual class members would create the risk of inconsistent standards
11 of conduct for ESOP fiduciaries, the claim against SPCP meets the requirements of
12 Rule 23(b)(1). The claim against SPCP also meets the requirements of Rule
13 23(b)(2), because SPCP has acted on grounds that apply generally to the Class and
14 Plaintiff seeks a declaratory or injunctive remedy to provide relief to all class
15 members. Finally, and alternatively, the Class may be certified under Rule 23(b)(3)
16 because common questions of law and fact predominate and a class action is
17 superior to other methods for resolving this claim against SPCP.
18 II.     BACKGROUND
19         A.    Statement of Facts
20         The KPC ESOP is an employee benefit plan established in 2015 for
21 employees of KPC. KPC ECF No. 133-6 at 1.2 Shortly after it was established, the
22 Plan purchased 100% of the common stock of KPC from Defendant Kali Pradip
23 Chaudhuri (“Dr. Chaudhuri”) for what the Plan Administrator reported to the
24
25
     2
    Citations to the docket in Case No.: 5:21-cv-01466-SB-SHK are expressed as
26
   “SPCP ECF No. __” while citations to the docket in Case No.: 5:20-cv-01126-SB-
27 SHK) are expressed as “KPC ECF No. __.”
28
     Plaintiff’s Memorandum in Support of Motion for Class Certification – Page 14
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 1 Department of Labor was an aggregate purchase price of $227,107,262 financed
 2 largely through a loan from Dr. Chaudhuri. KPC ECF No. 133-9 at PLAINTIFF
 3 _000029. KPC employees who satisfy the eligibility requirements participate in the
 4 Plan, and over time KPC stock is allocated to their individual accounts. KPC ECF
 5 No. 133-6 §§ 3.1, 5.1.
 6         Prior to the 2015 Transaction, Dr. Chaudhuri (with the aid of SPCP) had
 7 acquired all outstanding stock of KPC’s predecessor, Integrated Healthcare
 8 Holdings, Inc., just a year prior to the establishment of the ESOP, in May of
 9 2014—at a price of $0.203 per share. KPC ECF No. 133-10. This implied an
10 equity value of $51,827,374 (255,307,262 shares at $0.203/share). KPC ECF No.
11 179 ¶ 58. In the intervening period, KPC experienced significant financial distress.
12 KPC ECF No. 133-11. Its hospitals “were not even close to making budget” or
13 “hav[ing] a profit” and were “losing $2.5 million a month.” Id. The August 2015
14 purchase price represented a more than 400% increase over the price paid by Dr.
15 Chaudhuri just 15 months prior. KPC ECF No. 179 ¶ 78. The Plan’s fiduciaries –
16 including Alerus Financial, N.A. (“Alerus”), its Trustee, the ESOP Committee (the
17 Plan Administrator of the ESOP), and the members of KPC’s board of directors
18 (who appoint and monitor the Trustee) all knew or should have known that this
19 was an inflated price that did not represent the fair market value of KPC.
20         As part of the 2015 ESOP Transaction (and on the same day and through a
21 common set of written agreements), SPCP sold common stock warrants entitling it
22 to acquire up to 79,182,635 shares of common stock of KPC to KPC. In exchange,
23 SPCP received (a) $18,810,000 in cash; (b) a promissory note in the original
24 principal amount of $26,946,000; (c) a warrant to purchase 762,592 shares of KPC
25 at an exercise price of $2.50 per share; and (d) 10.2% of any net payments received
26 by KPC or its subsidiaries under California’s hospital quality assurance fee (QAF)
27 program based on services provided from January 1, 2017, to December 31, 2024.
28
     Plaintiff’s Memorandum in Support of Motion for Class Certification – Page 15
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 1 SPCP ECF No. 21 at 73-74 (“Am. Compl”). The Amended Complaint alleges that
 2 SPCP participated in the 2015 ESOP Transaction despite knowing (by virtue of its
 3 long investor relationship with KPC and business relationship with Dr. Chaudhuri,
 4 as well as its activities in the course of the transaction negotiations) that the sale of
 5 Dr. Chaudhuri’s KPC stock was at an inflated price. Id. at ¶¶ 89-92.
 6         B.     Claim of the Amended Complaint
 7         The Amended Complaint alleges a single claim for relief brought pursuant to
 8 ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), on behalf of the ESOP. The Amended
 9 Complaint alleges that SPCP sold its warrants to purchase KPC stock to KPC as
10 part of the 2015 ESOP Transaction. Am. Compl. ¶ 73. By doing so, the Amended
11 Complaint alleges that SPCP knowingly participated in a transaction prohibited by
12 ERISA § 406(a)-(b), 29 U.S.C. § 1106(a)-(b). Am. Compl. ¶¶ 112-20, 126-33. And
13 SPCP knowingly participated in Alerus’s breach of its fiduciary duties. Id. ¶¶ 121-
14 125, 126-3. The Amended Complaint seeks appropriate equitable relief against
15 SPCP, including an accounting for profits, disgorgement, and a constructive trust
16 on any ill-gotten gains that SPCP received as part of or in connection with the 2015
17 ESOP Transaction. Id. at 35-36; see Gamino v. SPCP Group, LLC, 5:21-CV-
18 01466-SB-SHK, 2022 WL 336469, at *6 (C.D. Cal. Feb. 2, 2022).
19 III.    ARGUMENT
20         Certification of a class is required where the party seeking certification
21 demonstrates the four prerequisites of Rule 23(a) and at least one of the
22 requirements of Rule 23(b). Fed. R. Civ. P. 23; Amchem Prods., Inc. v. Windsor,
23 521 U.S. 591, 613–14 (1997). An analysis of whether a class can be certified may
24 “entail some overlap with the merits of the plaintiff’s underlying claim.” Wal-Mart
25 Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). However, “[m]erits questions may
26 be considered to the extent—but only to the extent—that they are relevant to
27 determining whether the Rule 23 prerequisites for class certification are satisfied.”
28
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 1 Amgen Inc. v. Conn. Ret. Plans and Tr. Funds, 568 U.S. 455, 466 (2013). Once the
 2 elements of Rule 23 are met, a district court does not have discretion to deny class
 3 certification. Shady Grove Orthopedic Assocs. v. Allstate Ins. Co., 559 U.S. 393,
 4 398 (2010) (rejecting argument that court has discretion to deny class certification
 5 because “[b]y its terms [Rule 23] creates a categorical rule entitling a plaintiff
 6 whose suit meets the specified criteria to pursue his claim as a class action”).
 7         The action against SPCP satisfies all the requirements of Rule 23. This Court
 8 previously certified a nearly identical claim in the KPC Action seeking appropriate
 9 equitable relief for knowing participation in the 2015 ESOP Transaction against
10 Defendants Thomas and Dr. Chaudhuri. See KPC ECF No. 179 ¶¶ 132-33 (claim
11 for knowing participation in prohibited transaction), 142-43 (claim for knowing
12 participation in fiduciary breach); KPC Class Order at 10, 13 (certifying section
13 503(a)(3) claims under Rule 23(b)(1)). The claim against SPCP should also be
14 certified on behalf of the same Class.
15         A.     The Class is Objectively And Properly Defined.
16         “[A]t the certification stage, it [i]s sufficient that the class [i]s defined by an
17 objective criterion.” Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1124, 1125
18 n.4 (9th Cir. 2017). The definition suffices if it provides “objective criteria that
19 allow class members to determine whether they are included in the proposed
20 class.” MadKudu Inc. v. U.S. Citizenship and Immig. Servs., 20-CV-02653-SVK,
21 2020 WL 7389419, at *4 (N.D. Cal. Nov. 17, 2020). A criterion is objective where
22 it is “not based on class members' feelings or beliefs; it is based on a fact.” Wilcox
23 v. Swapp, 330 F.R.D. 584, 596 (E.D. Wash. 2019); see Hernandez v. Cnty. of
24 Monterey, 305 F.R.D. 132, 152 (N.D. Cal. 2015) (explaining that an objective class
25 definition “avoid[s] subjective standards (e.g. a plaintiff’s state of mind) or terms
26 that depend on resolution of the merits (e.g., persons who were discriminated
27 against)”). Here, the class definition is objective because it is based on the
28
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 1 following objective criteria: (1) is or was the putative class member a participant in
 2 the ESOP who (2) has not terminated employment with KPC or did not terminate
 3 employment before vesting? Thus, the class is sufficiently and properly defined.
 4         B.     The Class Meets Each of the Rule 23(a) Criteria.
 5         Rule 23(a) provides that a Class must satisfy four criteria: (1) the class is so
 6 numerous that joinder of all members is impracticable; (2) there are questions of
 7 law or fact common to the class; (3) the claims and defenses of the representative
 8 parties are typical of the claims or defenses of the class; and (4) the representative
 9 parties will fairly and adequately protect the interests of the class. Fed. R. Civ. P.
10 Rule 23(a). All these criteria are satisfied here.
11                1.    The Class Members Are So Numerous That Joinder Would
12                      Be Impracticable.
13         Rule 23(a) requires that a certifiable class must be so numerous that joinder

14 of individual parties is impracticable. Fed. R. Civ. P. 23(a)(1). “[T]he numerosity
15 requirement is usually satisfied where the class comprises 40 or more members.”
16 KPC Class Order at 7 (quoting Twegbe v. Pharma Integrative Pharmacy, Inc., No.
17 CV 12-5080 CRB, 2013 WL 3802807 (N.D. Cal. July 17, 2013)). Classes
18 “numbering in the hundreds… satisfy the numerosity requirement.” Campbell v.
19 PricewaterhouseCoopers, LLP, 253 F.R.D. 586, 594 (E.D. Cal. 2008) (citing
20 cases). “Plaintiffs need not state the exact number of potential class members, nor
21 is there a bright-line minimum threshold requirement.” Tawfilis v. Allergan, Inc.,
22 No. 815CV00307JLSJCG, 2017 WL 3084275, at *8 (C.D. Cal. June 26, 2017).
23 Defendants in the KPC Action estimated 2,000 to 3,000 persons became vested
24 participants in the ESOP between August 28, 2015, and June 1, 2020. KPC ECF
25 No. 133-12 at No. 1; KPC ECF No. 133-13 at No. 1. As this is the exact same class
26 as in the KPC Action, this estimated class size similarly satisfied the numerosity
27 requirement for the claim against SPCP. KPC Class Order at 7.
28
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 1                2.     Plaintiff’s Claim Raise Numerous Common Questions.
 2         Commonality requires only one question of law or fact common to the class.
 3 Fed. R. Civ. P. 23(a)(2), Not “every question in the case, or even a preponderance
 4 of questions,” need to be “capable of classwide resolution.” Wang v. Chinese Daily
 5 News, Inc., 737 F.3d 538, 544 (9th Cir. 2013). “The Ninth Circuit has instructed…
 6 that ‘commonality only requires a single significant question of law or fact.’” KPC
 7 Class Order at 7 (quoting Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 589
 8 (9th Cir. 2012)). Commonality “means that the class members’ claims ‘must
 9 depend upon a common contention’ and that the ‘common contention, moreover,
10 must be of such a nature that it is capable of classwide resolution—which means
11 that determination of its truth or falsity will resolve an issue that is central to the
12 validity of each one of the claims in one stroke.’” Vaquero v. Ashley Furniture
13 Indus., Inc., 824 F.3d 1150, 1153 (9th Cir. 2016) (quoting Dukes, 564 U.S. at 350).
14 Here, the claim against SPCP include numerous common central questions of law
15 and fact all of which can be resolved classwide, including the underlying issues of
16 “whether numerous individuals and entities breached their respective fiduciary
17 duties” and “whether a prohibited transaction occurred.” KPC Class Order at 3; see
18 Marshall v. Northrup Grumman Corp., No. CV 16-06794-AB (JCX), 2017 WL
19 6888281, *5 (C.D. Cal. Nov. 2, 2017) (finding commonality for claims defendants
20 engaged in a prohibited transaction and what equitable remedy should be
21 imposed). For such claims, the “the primary focus … is on the actions of
22 Defendants, not on the actions of the Plaintiffs.” Tibble v. Edison Int'l, No. CV 07-
23 5359 SVW AGRX, 2009 WL 6764541, at *3 (C.D. Cal. June 30, 2009) (holding
24 commonality met as to ERISA breach of fiduciary duty claims). Similarly, the
25 issues of whether SPCP had knowledge of these fiduciary breaches and prohibited
26 transaction violations, whether it participated in them, and what equitable relief is
27 appropriate as a remedy for its knowing participation will focus on SPCP and not
28
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 1 on the individual class members. Thus, the issues for liability and relief for the
 2 claim against SPCP will be common to every class member because these issues
 3 will focus on SPCP’s knowledge and actions rather than any particular participant.
 4                3.    The Typicality Requirement of Rule 23(a)(3) is Met.
 5         Typicality requires that “the claims or defenses of the representative parties
 6 are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “A
 7 plaintiff’s claims are considered typical if they are ‘reasonably co-extensive with
 8 those of absent class members; they need not be substantially identical.’” KPC
 9 Class Order at 7 (quoting Castillo v. Bank of Am., NA, 980 F.3d 723, 729 (9th Cir.
10 2020)); see Parsons v. Ryan, 754 F.3d 657, 685 (9th Cir. 2014). “To meet
11 the typicality standard, the Ninth Circuit does not require the named plaintiffs’
12 injuries to be ‘identical with those of the other class members, [but] only that the
13 unnamed class members have injuries similar to those of the named plaintiffs and
14 that the injuries result from the same injurious course of conduct.’” Buttonwood
15 Tree Value Partners, LP v. Sweeney, SA-CV-1000537-CJCMLGX, 2013 WL
16 12125980, at *4 (C.D. Cal. Sept. 12, 2013) (citing Armstrong v. Davis, 275 F.3d
17 849, 869 (9th Cir. 2001)). Here, as in KPC, Plaintiff’s claims are typical of the
18 Class and there are no unique defenses.
19                      a.     Plaintiff’s Claim is Typical of those of the Class.
20         As in KPC, SPCP’s “acts and omissions were not directed to an individual
21 but rather relate to the plan as a whole, such that the claims of Plaintiff and the
22 unnamed class members all arise from the same course of conduct.” KPC Class
23 Order at 7-8; Munro v. Univ. of S. Cal., Case No. 2:16-cv-06191-VAP-EX, 2019
24 WL 7842551, at *5 (C.D. Cal. Dec. 20, 2019) (finding ERISA claims seeking plan-
25 wide relief met the typicality requirement because those claims allege “injury to
26 the Plan[], and their claims are therefore identical to those of all putative class
27 members and implicate identical injuries”); Kanawi v. Bechtel Corp., 254 F.R.D.
28
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 1 102, 110 (N.D. Cal. 2008) (relying on “the representative nature of a suit filed
 2 pursuant to ERISA § 502(a)(2) and the injunctive relief sought pursuant to §
 3 502(a)(3)” to find typicality). In assessing typicality for such ERISA claims, the
 4 focus “is on the Defendants’ conduct.” Marshall, 2017 WL 6888281, at *7. That is
 5 because “[e]ach class member would have to rely on the same evidence to provide
 6 Defendants breached their duties, committed prohibited transactions, and harmed
 7 the Plan.” Id. And in such cases, “there was only one course of conduct that
 8 occurred.” Munro, 2019 WL 7842551, at *5. Claims challenging an ESOP
 9 transaction are “typical of the proposed class because they focus on the conduct of
10 Defendants as to the ESOP as a whole and not on conduct specific to any particular
11 Plaintiff.” Hurtado v. Rainbow Disposal Co., No. 8:17-cv-01605-JLS-DFM, 2019
12 WL 1771797, at *8 (C.D. Cal. Apr. 22, 2019) (finding typicality met for such
13 claims). Plaintiff’s claim against SPCP is typical of the class as the focus is on the
14 conduct of SPCP in the 2015 ESOP Transaction, and not on conduct specific to
15 Plaintiff or any class member.
16                      b.     There Are No Unique Defenses.
17         “Defenses unique to a class representative counsel against class certification
18 only where they ‘threaten to become the focus of the litigation.’” Rodriguez v.
19 Hayes, 591 F.3d 1105, 1124 (9th Cir. 2010). On the other hand, “defenses that may
20 bar recovery for some members of the putative class, but that are not applicable to
21 the class representative do not render a class representative atypical under Rule
22 23.” Barnes v. AT & T Pension Ben. Plan-Nonbargained Program, 270 F.R.D.
23 488, 494 (N.D. Cal. 2010) (citing cases). “This is so because Rule 23(a)(3) is
24 primarily concerned with ensuring that there is no ‘danger that absent class
25 members will suffer [because] their representative is preoccupied with defenses
26 unique to [him].’” Id. (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508
27 (9th Cir. 1992)). SPCP has asserted six affirmative defenses. SPCP ECF No. 51 at
28
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 1 13-15. Its First Affirmative Defense (an exemption under ERISA § 408) and Fifth
 2 Affirmative Defense (“damages caused by other parties”) are by their nature not
 3 unique to Plaintiff. The 2015 ESOP Transaction was exempt or or not, as to all
 4 Class members, and likewise SPCP’s assertion that Plaintiff’s “damages… were
 5 caused by other parties” will be effective against the Plan as a whole or not at all.3
 6 As to SPCP’s Second Affirmative Defense (waiver, because Plaintiff has already
 7 “received a distribution of funds”) and Third Affirmative Defense (standing) this
 8 Court rejected the contention that these issues barred class certification. KPC Class
 9 Order at 8. And SPCP’s Fourth Affirmative Defense (statute of limitations) is not
10 unique to Plaintiff—the applicable statute of limitations began to run from the date
11 of the 2015 ESOP Transaction as to every member of the Class. Jammeh v. HNN
12 Assocs., LLC, No. C19-0620JLR, 2020 WL 5407864, at *16 (W.D. Wash. Sept. 9,
13 2020) (holding statute of limitations defense did not undermine typicality where
14 other class members would be subject to same defense); Waldrup v. Countrywide
15 Fin. Corp., No. 213CV08833CASAGRX, 2018 WL 799156, at *9 (C.D. Cal. Feb.
16 6, 2018) (same). Thus, none of SPCP’s defenses are unique to Plaintiff nor
17 otherwise undermine the typicality of her claims.
18               4.     Plaintiff and Plaintiff’s Counsel Will Fairly and Adequately
19                      Protect the Interests of the Class.
20         Rule 23(a)(4) involves two questions: “(1) Do the representative plaintiffs

21 and their counsel have any conflicts of interest with other class members, and (2)
22 will the representative plaintiffs and their counsel prosecute the action vigorously
23 on behalf of the class?” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003);
24
     3
25   This is not an action for damages, as this Court explained in denying SPCP’s
   motion to dismiss. See SPCP ECF No. 50 at 6 (holding Plaintiff seeks equitable
26
   relief from several discrete funds rather than legal relief against SPCP’s assets
27 generally).
28
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 1 KPC Class Order at 8 (same). As with the claims in the KPC Action, Plaintiff and
 2 her counsel meet both requirements.
 3                      a.     There Is No Evidence of Conflict.
 4         There is no conflict where the class is “not divided into conflicting discrete
 5 categories” and where “each potential plaintiff has the same problem.” Hanlon v.
 6 Chrysler Corp., 150 F.3d 1011, 1021 (9th Cir. 1998). In order for there to be a
 7 “‘conflict of interest’ among the named Plaintiffs and the putative class members,
 8 the Court must find that the named Plaintiffs do not have the same tangible stake in
 9 the outcome of the litigation as the members of the proposed class.” Harris v.
10 Amgen, Inc., CV075442PSGPLAX, 2016 WL 7626161, at *3 (C.D. Cal. Nov. 29,
11 2016); Barnes, 270 F.R.D. at 495 (finding that where the plaintiff’s interests are
12 aligned with the class regarding the central issue in the case, other issues including
13 some affirmative defenses did not create a conflict). Under Ninth Circuit law,
14 SPCP must present evidence of an actual conflict and not merely a hypothetical or
15 speculative conflict. Urakhchin v. Allianz Asset Mgt. of Am., L.P., No. 815-CV-
16 1614-JLSJCGX, 2017 WL 2655678, at *6 (C.D. Cal. June 15, 2017) (rejecting
17 conflict as speculative); see Cummings v. Connell, 316 F.3d 886, 896 (9th Cir.
18 2003) (finding that speculative conflicts do not justify denial of class certification).
19 “[T]he Ninth Circuit has stated on more than one occasion that potential future
20 conflicts” – specifically as to remedies – “are insufficient to deny class
21 certification.” Hurtado, 2019 WL 1771797, at *8. This Court has previously held
22 that Ms. Gamino had no conflict with members of the same Class for which she
23 now seeks to certify the claim against SPCP. SPCP Class Order at 8-9. In this case,
24 Plaintiff’s sole claim against SPCP seeks to establish that the Plan is entitled to
25 equitable relief against SPCP, including a constructive trust and/or disgorgement of
26 its ill-gotten gains. Am. Compl. Prayer for Relief ¶¶ A-F. Thus, Plaintiff and the
27 Class share an interest in maximizing recovery to the Plan through this claim.
28
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 1                      b.     Plaintiff will Vigorously Prosecute the Claims.
 2          As this Court explained, the “threshold of knowledge required to qualify a
 3 class representative is low.” KPC Class Order at 9 (quoting Moeller v. Taco Bell
 4 Corp., 220 F.R.D. 604, 611 (N.D. Cal. 2004)); Allen v. Hyland's Inc., 300 F.R.D.
 5 643, 663 (C.D. Cal. 2014) (finding plaintiffs adequate where they “have made
 6 themselves available for depositions and demonstrated familiarity with the case.”).
 7 “This principle is especially germane ‘in a complex ERISA case such as this one,
 8 where the alleged violations are inseparable from the technicalities of securities
 9 transactions and corporate valuation.’” KPC Class Order at 9 (quoting Fernandez
10 v. K-M Indus. Holding Co., No. C 06-7339 CW, 2008 WL 2625874, at *3 (N.D.
11 Cal. June 26, 2008) (finding ESOP class action plaintiffs)); Hurtado, 2019 WL
12 1771797, at *9 (same). “[T]he Ninth Circuit has never imposed a knowledge
13 requirement on proposed class representatives.” Hurtado, 2019 WL at 1771797 at
14 9; Marshall, 2017 WL 6888281, at * 7 (reaching the same conclusion and citing
15 Surowitz v. Hilton Hotels Corp., 383 U.S. 363, 376 (1966)). This Court previously
16 concluded that Ms. Gamino had sufficient understanding of her claims required to
17 act as a class representative and has also demonstrated a willingness to pursue her
18 claims. KPC Class Order at 10. This Court rejected arguments that she merely
19 acted as a key to the courthouse door as she had assisted in the preparation of the
20 complaint, participated in discovery, appeared for deposition, and demonstrated an
21 understanding of her responsibilities as a class representative. Id. at 9-10; see KPC
22 ECF 133-2 ¶ 2; KPC ECF 133-3; ECF No. 133-17 at 8:18-9:4, 70:12-15, 191:23-
23 192:4.
24                      c.     Plaintiff’s Counsel Are More Than Adequate.
25          “The adequacy of counsel is considered under Rule 23(a)(4) and Rule
26 23(g).” Allen, 300 F.R.D. at 664 (citing Baumann v. Chase Inv. Servs. Corp., 747
27 F.3d 1117, 1122–23 (9th Cir. 2014)). Rule 23(g) factors include “(i) the work
28
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 1 counsel has done in identifying or investigating potential claims in the action; (ii)
 2 counsel's experience in handling class actions, other complex litigation, and the
 3 types of claims asserted in the action; (iii) counsel’s knowledge of the applicable
 4 law; and (iv) the resources that counsel will commit to representing the class.” Fed.
 5 R. Civ. P. 23(g)(1)(A). After evaluating these factors, this Court concluded that
 6 Co-Lead Class Counsel R. Joseph Barton, Daniel Feinberg, and Richard Donahoo
 7 were qualified to be appointed as Class Counsel. KPC Class Order at 12.
 8         Block & Leviton LLP and Joseph Barton (the partner on this case) have been
 9 appointed lead or co-lead counsel in numerous complex and class-action cases.
10 KPC ECF No. 133-18 ¶ 3-6. Another court in this District recognized Mr. Barton’s
11 “extensive experience litigating complex ERISA class actions” in appointing him
12 co-lead class counsel in a case challenging an ESOP transaction and disclosure
13 violations. Hurtado, 2019 WL 1771797, at *9. Mr. Barton has substantial
14 experience in ERISA cases in general and ESOP-related cases in particular. KPC
15 ECF No. 133-18 ¶ 5. Mr. Barton has successfully tried several ERISA fiduciary
16 breach actions including an ESOP class action. Id.
17         Feinberg Jackson Worthman & Wasow LLP and Daniel Feinberg have
18 extensive experience in complex litigation involving employee benefits, including
19 in cases related to fiduciary responsibility and prohibited transactions. KPC ECF
20 No. 133-20 ¶ 2-4. Mr. Feinberg has been appointed as class counsel in numerous
21 ERISA class action suits and has substantial experience litigating cases involving
22 ESOPs. Id. ¶ 3.
23         Donahoo and Associates, PC and Richard Donahoo have expertise in the
24 representation of plaintiffs in complex employment matters. KPC ECF No. 133-21
25 ¶ 3. Mr. Donahoo has served as class counsel in multiple class and/or collective
26 actions on behalf of employees, including cases involving ESOPs. Id. at ¶¶ 5, 7-8.
27 Mr. Donahoo has substantial trial experience in complex cases, id. at ¶¶ 9-11, and
28
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 1 was named Trial Lawyer of the year by the Orange County Trial Lawyers
 2 Association in 2015. Id. at 13.
 3         C.     The Claims Meet the Requirements of Rule 23(b)(1).
 4         This Court certified the claims in KPC Healthcare under Rule 23(b)(1),
 5 KPC Class Order at 10-12. “Most ERISA class action cases are certified under
 6 Rule 23(b)(1).” Marshall, 2017 WL 6888281, at *9. “The propriety of Rule
 7 23(b)(1) certification in [an ESOP case] is confirmed by the vast number of cases
 8 in which courts have certified ERISA class actions pursuant either to Rule
 9 23(b)(1)(A) or Rule 23(b)(1)(B), or both.” Colesberry v. Ruiz Food Prods., Inc.,
10 CVF 04-5516 AWISMS, 2006 WL 1875444, at *5 (E.D. Cal. June 30, 2006)
11 (collecting cases). This claim should also be certified under Rule 23(b)(1).
12                1.    Certification Under Rule 23(b)(1)(B) Is Appropriate.
13         Certification under Rule 23(b)(1)(B) is appropriate in actions where if the
14 action was litigated individually instead of as a class, it “would have the practical if
15 not technical effect of” concluding or impairing the interests of persons who are
16 not parties to the lawsuit. Ortiz v. Fibreboard Corp., 527 U.S. 815, 833 (1999).
17 One of the classic examples for which Rule 23(b)(1)(B) apply here as it did in the
18 KPC Action: “the adjudication of the rights of all participants in a fund in which
19 the participants have common rights.” Id. at 834 n.14. As this Court previously
20 found, “given the shared character of the rights invoked under the ESOP and the
21 relief sought on behalf of the ESOP, a ‘judgment for or against one ESOP
22 Participant . . . plainly affects the rights of all ESOP Participants.’” KPC Class
23 Order at 11 (quoting Hurtado, 2019 WL 1771797, at *10). This is precisely the
24 type of action charged in this case.
25         This claim alleging that SPCP knowingly participated in an ESOP
26 transaction is similarly suitable for class certification under Rule (b)(1)(B) because
27 a determination in this action about SPCP’s conduct will affect the rights of other
28
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 1 participants in the Plan. See Hurtado, 2019 WL 177197, at 10. Because the
 2 Complaint challenges a single transaction any determination or judgment affects
 3 the rights and interests of all participants in the ESOP. Thus, certification under
 4 Rule 23(b)(1)(B) is likewise appropriate here.
 5                2.     Certification Under Rule 23(b)(1)(A) is Also Appropriate
 6         Certification under Rule 23(b)(1)(A) applies in “cases where the party is
 7 obliged by law to treat the members of the class alike […], or where the party must
 8 treat all alike as a matter of practical necessity[.]” Amchem, 521 U.S. at 614. As in
 9 KPC, if even a few of the “thousands of individual members of the putative class
10 were to bring these claims against Defendants, it very well might lead to
11 ‘[c]onflicting interpretations by separate tribunals [that] could result in
12 countervailing directives’ to Defendants.” KPC Class Order at 9-10 (citing
13 Hurtado, 2019 WL 1771797, at *10); Cryer v. Franklin Templeton Res., Inc., C
14 16-4265 CW, 2017 WL 4023149, at *6 (N.D. Cal. July 26, 2017) (reaching same
15 conclusion and certifying ERISA breach of fiduciary duty and prohibited
16 transaction claims under Rule 23(b)(1)). Here, separate lawsuits have the potential
17 for conflicting decisions that would make uniform administration of the Plan
18 impossible and also potentially impose conflicting remedies on SPCP (or an ESOP
19 fiduciary to administer the Plan). Thus, certification under Rule 23(b)(1)(A) is
20 appropriate.
21
                  3.     Rule 23(b)(1) Applies to ERISA Claims Seeking Equitable
22                       Monetary Remedies
23         The Ninth Circuit has recognized that ERISA claims seeking declaratory and
24 monetary equitable relief are appropriate for certification under Rule 23(b)(1).
25 Moyle, 823 F.3d at 965 (affirming certification of ERISA claims seeking monetary
26 relief). In addition to this Court, other courts in this District have certified such
27
28
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 1 claims as well. E.g. Munro, 2019 WL 7842551, at *9 (certifying ERISA fiduciary
 2 duty claims seeking equitable remedies of disgorgement and injunctive relief under
 3 Rule 23(b)(1)); Marshall, 2017 WL 6888281, at *10 (same); Tibble, 2009 WL
 4 6764541, at *7–8 (same). As a remedy for SPCP’s knowing participation in
 5 fiduciary breaches and prohibited transactions, the Complaint properly seeks a
 6 variety of equitable relief, including a constructive trust over SPCP’s wrongfully
 7 held funds and disgorgement of profits received from those funds. Am. Compl. at
 8 Prayer for Relief ¶¶ A-C; SPCP ECF No. 50 at 6.
 9         D.     The Claim Meets the Requirements of Rule 23(b)(2).
10         Class certification under Rule 23(b)(2) is appropriate when (1) “the party
11 opposing the class has acted or refused to act on grounds that apply generally to the
12 class” and (2) “final injunctive relief or declaratory relief is appropriate respecting
13 the class as a whole.” Fed. R. Civ. P. 23(b)(2).
14                1.    SPCP Has Acted on Grounds That Apply Generally To the
15                      Class.
16         “Action or inaction is directed to a class within the meaning of [Rule

17 23(b)(2)] even if it has taken effect or is threatened only as to one or a few
18 members of the class, provided it is based on grounds which have general
19 application to the class.” 1966 Committee Notes to Rule 23(b)(2). As there was a
20 single ESOP transaction in which SPCP knowing participated, Defendant acted on
21 grounds generally applicable to the class regarding the allegations here.
22             2.     The Claim Seeks Injunctive and Declaratory Relief.

23         Rule 23(b)(2) applies to cases that seek “injunctive or declaratory relief” for

24 the class. Dukes, 564 U.S. at 360–61 (“The key to the (b)(2) class is the ‘indivisible
25 nature of the injunctive or declaratory remedy warranted’” such as “conduct that
26 was remedied by a single classwide order.”). Certification under Rule 23(b)(2) is
27 appropriate “when a single injunction or declaratory judgment would provide the
28
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 1 relief to each member of the class.” Id. at 360. In this case, the relief primarily
 2 consists of declaratory and injunctive relief (including as to any monetary relief)
 3 and any monetary relief merely flows as a natural consequence of the requested
 4 declaratory and injunctive relief.
 5         ERISA § 502(a) permits a participant to obtain an injunction, a declaration,
 6 or “other appropriate equitable relief” to redress violations or to enforce ERISA or
 7 the terms of the plan. CIGNA Corp. v. Amara, 563 U.S. 421, 443 (2011)
 8 (concluding “injunctions requir[ing] the plan administrator to pay to already retired
 9 beneficiaries money owed them under the plan as reformed” was appropriate
10 equitable relief); Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation
11 Tr. for S. Cal., 463 U.S. 1, 26-27 (1983) (“Under § 502(a)(3)(B) of ERISA, a
12 participant … may bring a declaratory judgment action in federal court”). The
13 mere fact that the claim results in monetary relief does not mean that the relief
14 sought is not equitable. See Berger v. Xerox Corp. Ret. Income Guarantee Plan,
15 338 F.3d 755, 763 (7th Cir. 2003) (holding Rule 23(b)(2) is satisfied even where a
16 declaratory judgment is “merely a prelude to a request for” monetary relief). Re-
17 affirming the validity of that rationale after Dukes, the Seventh Circuit concluded
18 an ERISA case was properly certified under 23(b)(2):
19         [A] declaration of the rights that the plan confers and an injunction
20         ordering [defendant] to conform the text of the plan to the declaration.
           If once that is done the award of monetary relief will just be a matter
21         of laying each class member's [plan] records alongside the text of the
22         reformed plan and computing the employee's entitlement by
           subtracting the benefit already credited it to him from the benefit to
23         which the reformed plan document entitles him, the monetary relief
24         will truly be merely “incidental” to the declaratory and (if necessary)
           injunctive relief (necessary only if [defendant] ignores the
25         declaration).
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 1 Johnson v. Meriter Health Servs. Emp. Ret. Plan, 702 F.3d 364, 371 (7th Cir.
 2 2012); see Baleja v. Northrop Grumman Space & Missions Sys., No. EDCV-
 3 17235-JGBSPX, 2020 WL 3213708, at *6 (C.D. Cal. Mar. 26, 2020) (certifying
 4 ERISA class action under Rule 23(b)(2) where monetary relief flowed from the
 5 injunctive relief principally sought). The relief requested here results from
 6 declarations or injunctions:
 7         Constructive Trust: A constructive trust is obtained when the court
 8 “declares [the defendant] to be [the] constructive trustee, [and] then orders him as
 9 trustee to make a transfer of the property to the beneficiary of the constructive
10 trust, the plaintiff.” Dan B. Dobbs, The Law of Remedies § 4.3(2) at 393 (2d ed.
11 1993) (emphasis added); George G. Bogert, et al., The Law Of Trusts And Trustees
12 § 471 (2008) (explaining that a constructive trust is accomplished “by merely
13 issuing a decree that the defendant convey” property to the plaintiff).
14         Disgorgement: “Nothing is more clearly a part of the subject matter of a suit
15 for an injunction than the recovery of that which has been illegally acquired and
16 which has given rise to the necessity for injunctive relief.” Porter v. Warner
17 Holding Co., 328 U.S. 395, 399 (1946) (concluding order for return of illegal rents
18 is injunctive relief); Harris Tr. and Savings Bank v. Salomon Smith Barney, Inc.,
19 530 U.S. 238, 250–53 (2000) (explaining in an ERISA case that the return of
20 monies wrongfully transferred is done by an injunction). As a result, courts have
21 characterized disgorgement as “a continuing injunction.” S.E.C. v. AMX, Int’l, 7
22 F.3d 71, 76 n.8 (5th Cir. 1993).
23         Accounting: The Ninth Circuit has recognized than an accounting is a form
24 of “traditional equitable relief” and indeed part of the “classic form of
25 restitutionary relief.” U.S. Commodity Futures Trading Comm'n v. Crombie, 914
26 F.3d 1208, 1216 (9th Cir. 2019) (citing Restatement (3d) of Restitution and Unjust
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 1 Enrichment § 51 cmt. e (2011)); see Microsoft Corp. v. U-Top Printing Corp., 46
 2 F.3d 1143 (9th Cir. 1995) (“An accounting[] is an equitable remedy.”).
 3         As any payment of money in this suit would be accomplished by or the
 4 automatic consequence of the declaratory and injunctive relief sought by Plaintiff,
 5 these claims are ideally suited for certification under Rule 23(b)(2).
 6         E.     The Claim Also Satisfies Rule 23(b)(3).
 7         Certification under Rule 23(b)(3) is appropriate if (1) common questions
 8 predominate over any questions affecting only individual members, and (2) class
 9 resolution is superior to other available methods for the fair and efficient
10 adjudication of claims. Fed. R. Civ. P. 23(b)(3). But an action should be certified
11 under Rule 23(b)(3) only if the court concludes that the requirements of Rule
12 23(b)(1) or (2) are not met. Stoetzner v. U.S. Steel Corp., 897 F.2d 115, 119 (3d
13 Cir. 1990) (“[A]n action maintainable under both (b)(2) and (b)(3) should be
14 treated under (b)(2) to enjoy its superior res judicata effect and to eliminate the
15 procedural complications of (b)(3), which serve no useful purpose under (b)(2).”);
16 Reynolds v. Nat'l Football League, 584 F.2d 280, 284 (8th Cir. 1978) (“[W]hen the
17 choice exists between (b)(1) and (b)(3) certification, generally it is proper to
18 proceed under (b)(1) exclusively in order to avoid inconsistent adjudication or a
19 compromise of class interests.”). If the Court finds that certification is not proper
20 under Rule 23(b)(1) or (b)(2), the Court should certify the class under 23(b)(3).
21                1.    Common Questions of Law and Fact Predominate.
22         Rule 23(b)(3) requires that “common questions predominate over any
23 questions affecting only individual members.” Predominance “asks whether the
24 common, aggregation-enabling, issues in the case are more prevalent or important
25 than the non-common, aggregation-defeating, individual issues.” Tyson Foods, Inc.
26 v. Bouaphakeo, 577 U.S. 442, 453 (2016). When the common questions “present a
27 significant aspect of the case and . . . can be resolved for all members of the class
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 1 in a single adjudication,” predominance is met. Hanlon, 150 F.3d at 1022
 2 (emphasis added). When “[a] common nucleus of facts and potential legal
 3 remedies dominates th[e] litigation,” common issues predominate. Id.; see Just
 4 Film, Inc. v. Buono, 847 F.3d 1108, 1120 (9th Cir. 2017) (finding predominance
 5 where claims “arise from a course of conduct that impacted the class”).
 6         Common issues predominate with respect to Plaintiff’s knowing
 7 participation claim as both the underlying violations by defendants in KPC (their
 8 fiduciary breaches and self-dealing) and SPCP’s conduct (their knowing
 9 participation in the same) were identical with respect to each Class member. See
10 Fremont Gen. Corp. Litig., No. 2:07-cv-02693-JHN-FFMx., 2010 WL 3168088,
11 *7 (C.D. Cal. Apr. 15, 2010) (holding common issues driving liability
12 determination predominated in case involving breach of fiduciary duty claims
13 regarding ESOP plan assets and related co-fiduciary and failure to monitor claims);
14 In re Comput. Scis. Corp. ERISA Litig., 2008 WL 7527872, at *4 (same). The
15 remedy will have a participant-wide effect. Supra III.C.1&2. Relief obtained for
16 the Plan, whether in the form of constructive trust, disgorgement, or otherwise, will
17 be common to every participant in the class. Supra III.C.2. Accordingly, issues of
18 law and fact common to all class members predominate over issues that may only
19 affect individual members.
20                2.     A Class Action is a Superior Method of Resolution.
21         Superiority merely measures whether “a class action is superior to other
22 available methods for the fairly and efficiently adjudicating the controversy.” Fed.
23 R. Civ. P. 23(b)(3). Superiority “requires the court to determine whether
24 maintenance of this litigation as a class action is efficient and whether it is fair.”
25 Wolin v. Jaguar Land Rover N.A., LLC, 617 F.3d 1168, 1175–76 (9th Cir. 2010).
26 Among the factors to consider are the following: (A) the class members’ interest in
27 individually controlling the prosecution or defense of separate actions; (B) the
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     Plaintiff’s Memorandum in Support of Motion for Class Certification – Page 32
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 1 extent and nature of any litigation concerning the controversy already begun by or
 2 against class members; (C) the desirability or undesirability of concentrating the
 3 litigation of the claims in the particular forum; and (D) the likely difficulties in
 4 managing of a class action. Fed. R. Civ. P. 23(b)(3).
 5         The first factor is met “[w]here recovery on an individual basis would be
 6 dwarfed by the cost of litigating on an individual basis.” Wolin, 617 F.3d at 1175.
 7 The cost of litigating a complex case of this kind dwarfs the individual entitlement
 8 to relief any individual class member would possess. Second, there is no other
 9 litigation concerning this controversy (except the KPC Action with which this one
10 has been consolidated). Third, concentrating the claims in this District is desirable
11 as KPC is headquartered here, Ex. 12, the KPC Defendants action are located
12 here—as are many class members and many of the non-party advisors who were
13 involved in the Transaction are located in this District. Finally, there are no
14 manageability issues that would weigh against certification, certainly not compared
15 to the prospect of managing a case with thousands of individually joined plaintiffs.
16 See Munday v. Navy Fed. Credit Union, No. SACV151629JLSKESX, 2016 WL
17 7655807, at *5 (C.D. Cal. Sept. 15, 2016) (holding superiority met where “the
18 court would be substantially burdened if even a fraction of putative class members
19 pursued individual claims”). Finally, there is a “well-settled presumption that
20 courts should not refuse to certify a class merely on the basis of manageability
21 concerns.” Briseno, 844 F.3d at 1128.
22 IV.     CONCLUSION
23         For the foregoing reasons, Plaintiff’s motion for class certification should be
24 granted.
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     DATED: February 16, 2022             Respectfully submitted,
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 7                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 8                             EASTERN DIVISION
 9
     DANIELLE GAMINO, individually and             Case No.: 5:21-cv-01466-SB-SHK
10   on behalf of all others similarly situated,
11                                                 Case No.: 5:20-cv-01126-SB-SHK)
           Plaintiff,                              (consolidated case number)
12
13   v.                                            ORDER GRANTING MOTION
                                                   FOR CLASS CERTIFICATION
14   SPCP GROUP, LLC,
15
           Defendant,
16
17   and
18   KPC HEALTHCARE, INC. EMPLOYEE
19   STOCK OWNERSHIP PLAN,
20         Nominal Defendant
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     Proposed Order –                                                   Page 36
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 1        Upon consideration of Plaintiffs’ Motion for Class Certification, the parties’
 2 briefing, and oral argument, this Court hereby GRANTS Plaintiffs’ Motion for
 3 Class Certification and makes the following findings:
 4        1.      Counts I of the Amended Complaint against SPCP Group LLC is
 5 hereby certified as a class action pursuant to Rule 23(b)(1) and (b)(2) on behalf of
 6 the following Class:
 7        All participants in the KPC ESOP from August 28, 2015 or any time
 8        thereafter (unless they terminated employment without vesting in the
 9        ESOP) and those participants’ beneficiaries.
10        Excluded from the Class are (a) Defendants in Gamino v. KPC
11        Healthcare Holdings, Inc., (b) any fiduciary of the Plan; (c) the officers
12        and directors of KPC or of any entity in which one of the individual
13        Defendants has a controlling interest; (d) the immediate family
14        members of any of the foregoing excluded persons, and (e) the legal
15        representatives, successors, and assigns of any such excluded persons.
16        2.     The Court finds that Count I satisfies the requirements of Fed. R. Civ.
17 P. 23(a) as follows:
18        a.     Because the class consists of over 2000 individuals, joinder of all
19               Class members would be impracticable.
20        b.     The claim raises common questions of law and fact. The issues of
21               liability on each count are common to all members of the Class and
22               are capable of common answers as those issues primarily focus on the
23               acts of Defendant SPCP Group, LLC, as well as the acts of the
24               fiduciary defendants in Gamino v. KPC Healthcare Holdings, Inc.
25               The common issues include whether the fiduciary defendants
26               breached various fiduciary duties to the KPC Healthcare Holdings,
27               Inc. Employee Stock Ownership Plan, whether Defendants Alerus and
28
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 1               Defendant Kali Pradip Chaudhuri engaged in transactions prohibited
 2               by ERISA, whether Defendant SPCP Group, LLC, knowingly
 3               participated in those breaches of ERISA, and what is the appropriate
 4               equitable relief for Defendant’s knowing participation.
 5         c.    The claims of Plaintiff Danielle Gamino are typical of the Class
 6               because they arise from the same event, practice and/or course of
 7               conduct and seek the same relief. Plaintiff’s claims are also typical
 8               because they generally seek recovery and relief on behalf of the plan.
 9         d.    Plaintiff and her counsel have no interests antagonistic to the Class.
10               Plaintiff has retained counsel with extensive experience litigating
11               ERISA class actions, including ESOP cases. Plaintiff and her counsel
12               will fairly and adequately protect the interests of the Class.
13         3.    The claims meet the requirements of Fed. R. Civ. P. 23(b)(1) because
14 varying or inconsistent adjudications regarding, e.g., the duties of fiduciaries or the
15 appropriate equitable remedy against SPCP Group, LLC, would establish
16 incompatible standards of conduct. For similar reasons, an adjudication regarding
17 these issues would, as a practical matter, adjudicate these issues with respect to the
18 other participants. Additionally, the monetary relief sought would either be paid to
19 the ESOP and then allocated to Class members’ individual accounts or paid to
20 KPC Healthcare Holdings, Inc.
21         4.    The claims also meet the requirements of Fed. R. Civ. P. 23(b)(2).
22 First, Defendant has acted on the same grounds as to all members of the Class by
23 knowingly participating in breaches of fiduciary duties and engaging in prohibited
24 transactions. Second, Plaintiff’s claims primarily seek declaratory and injunctive
25 relief. To the extent that monetary relief is awarded, any monetary relief would
26 flow from the declaratory relief. As a result, the monetary relief will not determine
27 the key procedures to be used, will not introduce any new and significant factual or
28
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 1 legal issues, and will not require individualized hearings. Thus, the lawsuit
 2 primarily, if not exclusively, seeks final declaratory and injunctive relief.
 3        5.     Because the Class is suited for certification under Fed. R. Civ. P.
 4 23(b)(1) and 23(b)(2), the Court need not address whether the Class may also be
 5 certified under 23(b)(3).
 6        6.     Because the Class is suited for certification under Fed. R. Civ. P.
 7 23(b)(1) and 23(b)(2), there is no need to give notice to Class members at this time.
 8        7.     Plaintiff Danielle Gamino is hereby appointed the representative of
 9 the Class.
10        8.     Pursuant to Rule 23(g)(1), R. Joseph Barton of Block & Leviton LLP,
11 Daniel Feinberg of Feinberg Jackson Worthman and Wasow LLP, and Richard
12 Donahoo of Donahoo & Associates, P.C. are appointed co-lead class counsel.
13
14 IT IS SO ORDERED.
15
16 DATE:
                                            Hon. Stanley Blumenfeld, Jr.
17
                                            United States District Judge
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